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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                CASE NO. 1:05-cr-00033-MP-AK

CHARLES WRIGHT, JR.,

      Defendant.
___________________________/

                                             ORDER

       A telephone status hearing was held in this case on Thursday, June 1, 2006. During the

hearing, the parties indicated that they were prepared for trial and believe that the trial will take

three days. Accordingly, defendant’s trial will commence on Tuesday, June 6, 2006. An

attorneys’ conference will be held chambers at 12:30 p.m., with jury selection set to commence

at 1:00 p.m.

       DONE AND ORDERED this              1st day of June, 2006


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge
